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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
 __________________________________________
                                           )
UNITED STATES of AMERICA                   )
                                           )
       v.                                  )  Criminal No.
                                           )  24-cr-10185-FDS-1
Thomas J. Erickson,                        )
                                          )
             Defendant.                    )
__________________________________________)


                                 PROCEDURAL ORDER
                               CONCERNING SENTENCING

SAYLOR, J.

        A plea of guilty having been entered on 8/12/24, under the Sentencing Reform Act of
1984, it is hereby ORDERED:

1.     Pre-Sentence Investigation

       a. The Probation Office shall immediately commence the pre-sentence investigation,
          unless the Court has ordered otherwise pursuant to Fed. R. Crim. P. 32(c)(1)(A).

       b. The Probation Office shall prepare pre-sentence investigation reports in the order in
          which requests from the Court are received.

2.     Statement of Relevant Facts

       Not later than seven days after the plea, the attorney for the government shall provide to
       the Probation Office a statement of relevant facts and any other materials that may be
       relevant under Fed. R. Crim. P. 32(d). The attorney for the government shall
       simultaneously serve counsel for the defendant copies of all materials provided to the
       Probation Office.

3.     Submission of Information Regarding Identifiable Victims (if applicable)

       Not later than seven days after the plea, the attorney for the government shall provide to
       the Probation Office, pursuant to Fed. R. Crim. P. 32(c)(1)(B), a written statement setting
       forth the names of the victims, their contact information/addresses, and the amount of
       loss sustained by each victim and restitution owed to each victim.
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4.   Interview of Defendant

     The Probation Office shall provide a reasonable opportunity for defense counsel to attend
     any interview of the defendant conducted by a probation officer during the pre-sentence
     investigation.

     a. The Probation Office shall schedule an interview with the defendant to be held within
        seven days after the [plea/verdict] or within such additional period of time as the
        court may order.

     b. If the defendant is in custody, the United States Marshal shall, at the request of the
        Probation Office, bring the defendant to the courthouse for an interview at the earliest
        feasible time.

5.   Disclosure of Initial Pre-Sentence Report

     a. The Probation Office shall have seven weeks after the date of plea for the
        preparation and disclosure of the initial report.

     b. The Probation Office shall disclose the initial report to defense counsel and
        government counsel not less than five weeks before the sentencing hearing, unless
        the defendant expressly waives the minimum five-week notification period.

     c. The date when disclosure has been made to each attorney is the date of the electronic
        disclosure of a copy to that attorney. It is the responsibility of the defense counsel to
        disclose the pre-sentence report to the defendant and to discuss it with and explain it
        to the defendant.

6.   Objections to Pre-Sentence Report

     Not less than fourteen days after disclosure of the report, the attorneys for the
     government and the defendant shall advise the probation officer and each other, in
     writing, of any objections they may have as to any material information, sentencing
     classifications, sentencing guideline ranges, or policy statements contained in or omitted
     from the report.

7.   Probation Response to Objections

     The probation officer shall conduct any further investigation and make any revisions to
     the pre-sentence report that may be necessary or appropriate. The probation officer may
     require counsel for both parties to confer with him or her to identify and attempt to
     resolve any factual or legal disputes which may require hearing by the court.

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8.    Final Pre-Sentence Report

      Not less than seven days before the sentencing hearing, the probation officer shall
      submit to the court and disclose to the attorneys the final pre-sentence report, including
      any addendum, setting forth the unresolved objections, the grounds for those objections,
      and the probation officer’s comments on the objections. The probation officer shall
      certify that the contents of the report, including any revisions and the addendum, have
      been disclosed to the defendant and to counsel for the defendant and the government, and
      that the addendum fairly states any remaining unresolved objections. Except with regard
      to any unresolved objections, the report of the pre-sentence investigation may be
      accepted by the court as accurate. The court, however, for good cause shown, may allow
      a new objection to the pre-sentence report to be raised at any time before the imposition
      of sentence.

9.    Date of Sentencing

      The sentencing hearing (and sentencing) will take place on November 7, 2024 at 2:00
      p.m. Boston, MA Courtroom 10.

10.   Counsel’s Obligations Concerning Hearing

      Not less than five days before the sentencing hearing, counsel are to advise the Court:

      a. whether a party will move for a departure from the applicable guideline range or will
         move for a non-guideline sentence;

      b. whether there are other legal questions not adequately addressed in the presentence
         report or not addressed at all;

      c. whether there are factual issues that the party contends require an evidentiary hearing.

11.   Sentencing Memoranda

      Counsel may submit a memorandum addressing any legal and factual issues implicated in
      the sentencing. Not less than five days before the sentencing hearing, a copy of such
      memorandum and any submissions addressing sentencing issues submitted by counsel
      must also be provided to the probation officer.

12.   Evidentiary Hearing

      The Court may hold an evidentiary hearing to resolve any disputed issues or as justice
      may require.

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13.     Modification of Schedule

        The schedule set forth in this Order may be modified by the Court for good cause shown.

14.     No Disclosure of Probation Recommendation

        The Probation Office shall not disclose any recommendation it made to the Court as to
        the appropriate sentence. Any such recommendation made to the court by the Probation
        Office must not contain factual information not already disclosed to both counsel and to
        the defendant.



      8/12/24                                /s/ F. Dennis Saylor, IV
        Date                                 United States District Court Judge



cc:     Counsel
        Probation Office




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